            Case 1:18-cr-00030-WLS-TQL Document 667 Filed 07/19/22 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY/VALDOSTA DIVISION
                                  AT ALBANY, GEORGIA

            MINUTE SHEET OF SENTENCING HEARING (UNCONTESTED)
 Date:     7/19/2022                               Court Time for MJSTAR/JS10: 1 hr.

 Judge: W. LOUIS SANDS                             Court Reporter: Sally Gray
                                                   Interpreter:
 Courtroom Deputy: Gloria D. Anderson              Staff Attorney: GEK
                               Case Number: 1:18cr30 (002) (WLS)

 UNITED STATES OF AMERICA                             AUSA: Leah McEwen

 v.

 TRAVIS TISE                                          Counsel: Katryna Spearman


Agents/Experts in Attendance: USPO        SIMPSON

      DISCLAIMER: CONTENTS OF THIS MINUTE SHEET ARE FOR ADMINISTRATIVE PURPOSES ONLY AND
      ARE NOT MEANT AS A SUBSTITUTION FOR THE OFFICIAL COURT RECORD. ATTORNEYS SHOULD
      CONTACT THE COURT REPORTER AND ORDER A TRANSCRIPT IF THERE ARE ANY QUESTIONS AS TO
      THE CONTENTS HEREIN.

• Defendant’s counsel restated Objection(s) paragraph 28 as to Defendant Leadership role.
  The Defendant also objected to Paragraph 109 in reference to Defendant not receiving a
  downward variance. Govt. responded. The Court overruled both objections. The
  Defendant withdrew his previous objections to paragraph 25 of the PSR.


                              SENTENCE AND CONDITIONS

 RANGE: 262 - 327            Months     OFFENSE LEVEL: 34            CATEGORY: VI
 IMPRISONMENT: 294 MONTHS to be served consecutively to any term of imprisonment
 imposed in the U.S. District Court for the Northern District of Florida, Docket No: 4:09cr13-01 (
 Violation of Supervised Release).
 The prison term is to be followed by a period of Supervised Release of 5 YEARS and shall
 include the Mandatory, Standard and Special Conditions as noted in the Presentence Report and
 the Court’s Standing Order 2017-02.

In Re: COUNT(S)          1    of the Indictment:
•A mandatory assessment fee of $100.00 is to be paid immediately.
          Case 1:18-cr-00030-WLS-TQL Document 667 Filed 07/19/22 Page 2 of 2




•The Court waives the fine and any alternative sanctions based on your financial condition. Financial
penalties shall be paid in accordance with the Court’s Standing Order 2017-02.
VOLUNTARY SURRENDER:         ☒ No                 APPEAL INFORMATION GIVEN TO: ☒ Atty       ☒ Dft
